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                                   PJDGE FRANK MONTAJ(
                             UNITED STATES DISTRICT COURT                          FILED
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

                                                                                    :;Ii       i   ILA:.S

 CRYSTAL MALDONADO,
                                                                              1




                               Plaintiff,

                V.




DICELLO LEVITT GUTZLER, LLC an Ohio
Limited Liability Company and LINVILLE LAW
GROUP, LLC a Georgia Limited Liability
Company, INTAKE DIRECT LLC, a Georgia
Limited Liability Company and GUARDIAN
LEGAL GROUP LLC alkla GUARDIAN
LEGAL NETWORK



                              Defendants.



                            PLAINTIFF'S ORIGINAL COMPLAINT

                                              PARTIES

       The Plaintiff is CRYSTAL MALDONADO ("Plaintiff') a natural person, resident of the

Western District of Texas, and was present in Texas for all automated text messages, in this case

in El Paso County, Texas.

2.     Defendant INTAKE DIRECT LLC ("Intake") is a limited liability company organized

and existing under the laws of Georgia with a principal address of 317 Eisenhower Drive,

Savannah, Georgia 31406, and can be served via registered agent Benjamin Perkins, 218 W State

Street, Savannah, Georgia 31401.

3.     Defendant GUARDIAN LEGAL GROUP LLC a/k/a GUARDIAN LEGAL NETWORK

("Guardian") is a limited liability company organized and existing under the laws of Georgia
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 with a principal address of 317 Eisenhower Drive, Savannah, Georgia 31406 and can be
                                                                                            served
 via registered agent Benjamin Perkins, 218 W. State Street, Savannah, Georgia 31401.

 4.      Defendant DICELLO LEVITT GUTZLER, LLC ("DICELLO") is a limited liability

 company organized and existing under the laws of Ohio and can be served via registered agent

 Joseph Silvaggio at 6450 Rockside Woods Blvd. South #230, Independence, Ohio 44131.

         Defendant LINVILLE LAW GROUP, LLC ("Linville") is a limited liability company

organized and existing under the laws of Georgia and can be served via registered agent Hunter

Linville at 5560 Lake Island Dr. Atlanta, Georgia 30327.

                                    JURISDICTION AND VENUE

6.      Jurisdiction. This Court has federal-question subject matter jurisdiction over Plaintiff's

TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal statute. Mims v. Arrow

Fin. Servs., LLC, 565 U.S. 368, 372 (2012).    This Court has supplemental subject matter

jurisdiction over Plaintiff's claim arising under Texas Business and Commerce Code 305 .053

because that claim arises from the same nucleus of operative fact, i.e., Defendants' telemarketing

robocalls to Plaintiff adds little complexity to the case.

7.      Personal Jurisdiction. This Court has specific personal jurisdiction over the defendant

because they have repeatedly placed calls and automated text messages to Texas residents, derive

revenue from Texas businesses, provide legal services to Texas residents, and solicited Plaintiff

their legal services in this District.

8.      Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)-(2) because a

substantial part of the events giving rise to the claimsthe calls and sale of goods and services

directed at Texas residents, including the Plaintiffoccurred in this District and because the

Plaintiff resides in this District. Residing in the Western District of Texas when he received a



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 substantial if not every single automated text message from Defendants that are the subject

 matter of this lawsuit.

 9.     This Court has venue over the defendants because the automated text messages at issue

were sent by or on behalf of the above-named Defendants to the Plaintiff, a Texas resident.

                      THE TELEPHONE CONSUMER PROTECTION ACT

                                       OF 1991, 47 U.S.C. § 227

10.     In 1991, Congress enacted the TCPA to restrict the use of sophisticated telemarketing

equipment that could target millions of consumers en masse. Congress found that these calls

were not only a nuisance and an invasion of privacy to consumers specifically but were also a

threat to interstate commerce generally. See S. Rep. No. 102-178, at 2-3 (1991), as reprinted in

1991 U.S.C.C.A.N. 1968, 1969-71.

11.     The TCPA makes it unlawful "to make any call (other than a call made for emergency

purposes or made with the prior express consent of the called party) using an automatic

telephone dialing system ('ATDS") or an artificial or prerecorded voice ... to any telephone

number assigned to a ... cellular telephone service." 47 U.S.C. § 227(b)(1)(A)(iii).

12.    The TCPA makes it unlawful "to initiate any telephone call to any residential telephone

line using an artificial or prerecorded voice to deliver a message without the prior express

consent of the called party, unless the call is initiated for emergency purposes, is made solely

pursuant to the collection of a debt owed to or guaranteed by the United States or is exempted by

rule or order" of the Federal Communication Commission ("FCC"). 47 U.S.C. § 227(b)(1)(B).

13.    The TCPA provides a private cause of action to persons who receive calls in violation of

§ 227(b). 47 U.S.C. § 227(b)(3).

14.    Separately, the TCPA bans telemarketing calls without a do-not-call policy available



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 upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1).'

 15.    The TCPA provides a private cause of action to persons who receive calls in violation
                                                                                                    of
 § 227(c) or a regulation promulgated thereunder. 47 u.s.c. § 227(c)(5).

 16.    According to findings of the FCC, the agency vested by congress with authority to issue

 regulations implementing the TCPA, automated or prerecorded telephone calls are a greater

 nuisance and invasion of privacy than live solicitation calls and can be costly and inconvenient.

 17.    The FCC also recognizes that "wireless customers are charged for incoming calls whether

they pay in advance or after the minutes are used." In re Rules and Regulations Implementing

the Tel. Consumer Prot. Act of 1991, 18 FCC Red. 14014, 14115
                                                                   ¶ 165 (2003).
18.     The FCC requires "prior express written consent" for all autodialed or prerecorded

telemarketing robocalls to wireless numbers and residential lines. In particular: [Al consumer's

written consent to receive telemarketing robocalls must be signed and be sufficient to show that

the consumer: (1) received clear and conspicuous disclosure of the consequences of providing

the requested consent, i.e., that the consumer will receive future calls that deliver prerecorded

messages by or on behalf of a specific seller; and (2) having received this information, agrees

unambiguously to receive such calls at a telephone number the consumer designates. In addition,

the written agreement must be obtained without requiring, directly or indirectly, that the

agreement be executed as a condition of purchasing any good or service.

19.    In the Matter ofRules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,

27 FCC Red. 1830, 1844 ¶ 33 (2012) (footnote and internal quotation marks omitted). FCC

regulations "generally establish that the party on whose behalf a solicitation is made bears




'See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
(codifying a June 26, 2003 FCC order).
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 ultimate responsibility for any violations." In the Matter of Rules and Regulations
                                                                                       Implementing
 the Tel. Consumer Prot. Act of 1991, 10 FCC Rcd. 12391, 12397
                                                                    ¶ 13 (1995).
 20.    The FCC confirmed this principle in 2013, when it explained that "a seller ... may be

 held vicariously liable under federal common law principles of agency for violations of either

 section 227(b) or section 227(c) that are committed by third-party telemarketers." In the Matter

of the Joint Petition Filed by Dish Network, LLC, 28 FCC Rcd. 6574, 6574 ¶ (2013).
                                                                                 1



21.     Under the TCPA, a text message is a call. SatterjIeld v. Simon & Schuster, Inc., 569 F.3d

946, 951   52 (9th Cir. 2009).
22.     A corporate officer involved in the telemarketing at issue may be personally liable under

the TCPA. E.g., Jackson Five Star Catering, Inc. v. Beason, Case No. 10-10010, 2013 U.S. Dist.

LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) ("[M]any courts have held that corporate

actors can be individually liable for violating the TCPA where they had direct, personal

participation in or personally authorized the conduct found to have violated the statute." (internal

quotation marks omitted)); Maryland v. Universal Elections, 787 F. Supp. 2d 408, 415        16 (D.

Md. 2011) ("If an individual acting on behalf of a corporation could avoid individual liability,

the TCPA would lose much of its force.")

            OVERVIEW OF THE TEXT MESSAGING MARKETING INDUSTRY

23.    In recent years, marketers who often have felt stymied by federal laws limiting

solicitation by telephone, facsimile machine, and email have increasingly looked to alternative

technologies through which to send bulk solicitations cheaply.

24.    One of the newest types of such marketing is to advertise through Short Message

Services. The term "Short Message Service" or "SMS" describes a messaging system that allows

cellular telephone subscribers to use their cellular telephones to send and receive short text



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 messages, usually limited to 120-500 characters.

 25.    An "SMS message" is a text directed to a wireless device. When an SMS message call is

successfully made, the recipient's cell phone rings, alerting him or her that a call is being

received.

26.     The open rate for SMS messages exceeds 99%, and 90% of those messages are read

within three minutes. Conversely, the open rate for an email in the finance industry is 2 1.56%.

27.     Unlike more conventional advertisements, SMS calls, and particularly wireless or mobile

spam can actually cost their recipients money, because cell phone users must frequently pay their

respective wireless service providers either for each text message or call they receive or incur a

usage allocation deduction to their text plan, regardless of whether or not the message is

authorized.

28.     Most commercial SMS messages are sent from "short codes" (also known as "short

numbers"), which are special cellular telephone exchanges, typically only five or six-digit

extensions, that can be used to address SMS messages to mobile phones. Short codes are

generally easier to remember and are utilized by consumers to subscribe to such services as

television program voting or more benevolent uses, such as making charitable donations.

29.    A short code is sent to consumers along with the actual text message and conclusively

reveals the originator of the SMS message.

30.    Text messages are "calls" within the context of the TCPA. SatterfIeld v. Simon &

Schuster, Inc., 569 F .3d 949 (9th Cir. 2009).

                                    FACTUAL ALLEGATIONS

31.    At all times Plaintiffs number was successfully registered on the Do-Not

Call Registry.
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 32.     Plaintiff received at least thirty-one (31) unauthorized automated text messages ("the text

 messages") to her personal cell phone ending in 6342 in from August 17, 2022, to September 20,

 2022, from Defendants soliciting their goods and services. See "Exhibit A."

 33.     Defendant Intake is a company that operates as a website and call center with a specific

 mission of helping consumers find an attorney. Intake's website states "Intake Direct helps to

 connect plaintiffs with qualified attorneys nationwide. If you know someone, or if you yourself

have been injured by a dangerous drug, defective medical device, or defective product, we can

help you find a legal team that is ready to help."

34.     Defendant Intake and Defendant Guardian share the same physical principal location and

through information and belief share common ownership.

35.     Through information and belief Defendant Intake and Defendant Guardian has partnered

with and/or authorized Defendant Guardian to solicit potential clients on its behalf.

36.     Defendant Guardian is an advertising group that represents lawyers jointly advertising

their services. Defendant Guardian's website states "We leverage the power of television, digital

media, and other forms of advertising to inform the public of potentially dangerous prescription

drugs, defective medical devices, and product liability. . . Victims can take a proactive approach

by learning more about their case and contacting a knowledgeable attorney with our assistance."

37.     Defendants Dicello and Linville are law firms that hired and contracted with Defendant

Guardian and Defendant Intake to solicit clients on their behalf. Defendants Dicello and Linville

knew, or should have known, that Defendant Guardian and Defendant Intake would be making

solicitation using automated text messages on their behalf. Defendant Dicello and Defendant

Linville have contracted with Defendant Guardian and Defendant Intake as an end around the

solicitation prohibition for attorneys.



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 38.     Defendants Dicello and Linville market and solicit potential clients via automated text

 messages in violation of the National Bar Association prohibition on soliciting persons with

 whom no prior relationship existed.

 39.     None of the Defendants have any prior existing business relationship with Plaintiff.

Plaintiff has never been a customer or client of any of the Defendants.

40.      Plaintiff did not give any of the Defendants her prior express written consent to receive

the text messages.

41.     The text messages Plaintiff received from Defendants were generated and sent using an

ATDS.

42.     Defendants Dicello and Linville are well aware of the National Bar Association, Texas

State Bar Association, Ohio State Bar Association, and Georgia State Bar Association's

prohibition of soliciting business from consumers with whom they had no preexisting

relationship.

43.     Defendants Dicello and Linville are repeatedly violating the National, Texas, Ohio and

Georgia Bar's code of conduct for attorneys by soliciting clients with whom they had no prior

relationship.

44.     Defendants Dicello and Linville knowingly and willfully authorized the sending of text

messages using an ATDS to millions of consumers' personal cell phones en masse soliciting

their services to carriers.

45.     The text messages Plaintiff received from Defendants do not reveal their true identities.

46.     In order to determine their true identity Plaintiff called the phone numbers that were

embedded in the automated text messages. A representative from Defendant Guardian answered

each and every one of the phone calls.
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47.    On September 8, 2022, Plaintiff called 855-598-0250, one of the phone numbers listed in

the automated text messages, and was connected to a recording advertising Camp Lejeune stating

"If you or a loved one lived, worked, or spent more than 30 days in the Camp Lejeune toxic

water and have been diagnosed with cancer or other life-altering medical issues, you could be

entitled to compensation. To speak to one of our care representatives press one now."

48.    Plaintiff pressed "one" and was connected to a female representative who identified

herself as being from the Guardian Legal Network.

49.    The female representative asked Plaintiff qualifying health questions and then transferred

Plaintiff to another female representative who also verified Plaintiff's information. The female

representative eventually told Plaintiff "All right from my side that will be all. Thank you very

much for verifying that information for me. I'm going to connect you back with the agent you

were speaking with so you guys can finish. There's only one more step, ok, so we can you're

your information to the firm."

50.    The "firm" in paragraph 49 is Defendant Dicello and Defendant Linville.

51.    The female telemarketers then sent Plaintiff's information to the "law firms" as specified

in paragraph 49. Defendants Dicello and Linville are the law firms the representatives sent

Plaintiff's information to as a direct and approximate cause of the phone call Plaintiff made to

phone number 855-598-0250. Plaintiff was sent a legal retainer/contract listing Defendant

Dicello and Defendant Linville as the law firms who would be representing Plaintiff. Exhibit B.

52.    None of the text messages Plaintiff received identified the sender of the text message or

on whose behalf the text messages were being sent.

53.    Plaintiff pretended to be interested in the legal services of the Defendants in order to

determine who was behind the text messages.
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54.        On September 8, 2022, Plaintiff received a docusign contract via email from

processing(2iintakedirect.com.     Exhibit C.

55.        Table below displays the automated text messages made to Plaintiff by Defendants:

TABLE A:


 Number          Date         Time          Caller ID                            Notes



      1.       8/17/2022     11:12AM        934-201-6149                 Link directs to Legal Action Finder;
                                                                                        legalactionfinder.com



      2.          8/18/22    10:49 AM       716-506-6032      Automated text message. Says to call 855-615-
                                                                                                       2309


      3.       8/18/2022     10:49 AM       774-379-0096                           Says to call 855-615-2309



      4.       8/20/2022     11:47 AM       303-854-6531                 Link directs to Legal Action Finder;
                                                                                        legalactionfinder.com


      5.       8/24/2022      9:23 AM       443-781-5093     Links to lejeunelawsuits.com with phone number
                                                                   800-993-4727. Guardian answered phone.


      6.        9/1/2022       1:34 PM      724-894-4040                            Says to call 844-897-8456



      7.        9/1/2022       1:34 PM      318-536-2960     Links to lejeunelawsuits.com with phone number
                                                                   800-993-4727. Guardian answered phone.


      8.         9/1/2022      1:34 PM      773-829-4801                  Link directs to Legal Action Finder;
                                                                                         legalactionfinder.com


      9.         9/1/2022      1:34 PM      331-244-5194     Links to lejeunelawsuits.com with phone number
                                                                   800-993-4727. Guardian answered phone.


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10.     9/7/2022    7:33 PM    865-895-4023   Links to lejeunelawsuits.com with phone number
                                                     800-993-4727. Guardian answered phone.


11.     9/8/2022    8:58 PM    978-843-4330   Links to lejeunelawsuits.com with phone number
                                                     800-993-4727. Guardian answered phone.


12.      9/9/2022   2:12 PM    214-227-9171   Links to lejeunelawsuits.com with phone number
                                                     800-993-4727. Guardian answered phone.


13.     9/10/2022    7:39 PM   276-218-3572   Links to lejeunelawsuits.com with phone number
                                                     800-993-4727. Guardian answered phone.


14.     9/11/2022    6:38 PM   580-408-2240   Links to lejeunelawsuits.com with phone number
                                                    800-993-4727. Guardian answered phone.


15.     9/12/2022    1:59 PM   223-243-3818        Says to call 855-598-0250. Guardian Legal
                                                                  Network answered the phone


16.     9/12/2022    6:01 PM   843-278-2384   Links to lejeunelawsuits.com with phone number
                                                     800-993-4727. Guardian answered phone.


17.     9/13/2022   8:27 AM    856-328-2784                          Automated text message



18.     9/13/2022   10:27 AM   272-879-1065        Says to call 833-498-1230. Guardian Legal
                                                                  Network answered the phone


19.     9/14/2022   10:58 AM          21093                 Automated text from Intake Direct



20.     9/14/2022   10:58 AM          21093                 Automated text from Intake Direct



21.     9/14/2022   11:00 AM          21093                 Automated text from Intake Direct




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      22.    9/14/2022     11:34 AM               21093                   Automated text from Intake Direct



      23.    9/15/2022      1:11 PM       413-758-6520           Says to call 888-909-4109. Guardian Legal
                                                                                Network answered the phone

      24.    9/15/2022      8:33 PM       607-891-3694     Links to lejeunelawsuits.com with phone number
                                                                 800-993-4727. Guardian answered phone.


      25.    9/16/2022     11:00 AM       213-766-9095                     Links to consumertortcenter.com



      26.    9/16/2022      6:13 PM       704-248-7642     Links to lejeunelawsuits.com with phone number
                                                                 800-993-4727. Guardian answered phone.

      27.    9/16/2022      6:47 PM       320-844-4217     Links to lejeunelawsuits.com with phone number
                                                                 800-993-4727. Guardian answered phone.

      28.    9/17/2022      4:31 PM      309-668-8290      Links to lejeunelawsuits.com with phone number
                                                                  800-993-4727. Guardian answered phone.


      29.    9/18/2022      6:33 PM      662-667-2275      Links to lejeunelawsuits.com with phone number
                                                                 800-993-4727. Guardian answered phone.


      30.    9/19/2022      4:55 PM      774-470-0729       Says to call 877-632-1519. Guardian answered
                                                                                                  phone.


      31.    9/20/2022      2:31 PM      361-603-1466      Links to lejeunelawsuits.com with phone number
                                                                  800-993-4727. Guardian answered phone.


56.     The text messages Plaintiff received from Defendants were placed while knowingly

ignoring the national do-not-call registry. The text messages were placed without training their

agents/employees on the use of an internal do-not-call policy.




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 57.        Plaintiff sent a request for Defendant Intakes's internal do not call policy on September

 21, 2022, to processing(intakedirect.com.

 58.        Defendant Intake failed and/or refused to send Plaintiff a copy of any internal do not call

 policy.

 59.       On information and belief, Defendant Intake did not have a written do-not-call policy

 while they were sending Plaintiff the text messages.

 60.       Plaintiff sent a request for Defendant Guardian's internal do not call policy on September

 21, 2022, to info(lgetguardian1egal.com.

 61.       Defendant Guardian failed and/or refused to send Plaintiff a copy of any internal do not

call policy.

62.        On information and belief, Defendant Guardian did not have a written do-not-call policy

while they were sending Plaintiff the text messages.

63.        No emergency necessitated none of the alleged illegal automated text messages.

64.        Plaintiff has limited data storage capacity on his cellular telephone. Incoming

telemarketing text messages consumed part of this capacity.

                     INJURY, HARM, DAMAGES, and ACTUAL DAMAGES

                                   AS A RESULT OF THE CALLS

65.     Defendants automated text messages harmed Plaintiff by causing the very harm that

Congress sought to preventa "nuisance and invasion of privacy."

66.     Defendants automated text messages harmed Plaintiff by trespassing upon and interfering

with Plaintiff's rights and interests in Plaintiff's cellular telephone.

67.    Defendants automated text messages harmed Plaintiff by intruding upon Plaintiff's

seclusion.



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 68.     Plaintiff has been harmed, injured, and damaged by the text messages including, but not

 limited to: reduced device storage, reduced data plan usage, anger, frustration, invasion of

 privacy, and more frequent charging of his cell phone.

                           Plaintiff's cell phone is a residential number

 69.     The text messages were to Plaintiff's cellular phone ending in 1527 which is Plaintiff's

 personal cell phone that she uses for personal, family, and household use. Plaintiff also uses her

 cell phone for navigation purposes, sending and receiving emails, timing food when
                                                                                       cooking, and
 sending and receiving text messages. Plaintiff further has her cell phone registered in her

personal name, pays the cell phone from her personal accounts, and the phone is not primarily

used for any business purpose.

                 Violations of the Texas Business and Commerce Code 305.053

70.     The actions of the Defendants violated the Texas Business and Commerce Code 305.053

by placing automated text messages to a cell phone which violates 47 USC 227(b). The

automated text messages by Defendants violated Texas law by placing automated text messages

to a cell phone which violates 47 USC 227(c)(5) and 47 USC 227(d) and 47 USC 227(d)(3) and

47 USC 227(e).

71.     The text messages by Defendants violated Texas law by spoofing the caller IDs per 47

USC 227(e) which in turn violates the Texas statute.

        VICARIOUS LIABILITY OF DEFENDANTS DICELLO AND LINVILLE

72.    Defendants Dicello and Linville authorized Defendant Dicello and Defendant Guardian

to make solicitation phone calls on their behalf.

73.    Defendants Dicello and Linville are law firms that know they are not allowed to send

direct solicitation phone calls and text messages on their own and have outsourced the unethical


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 process in order to avoid liability.

 74.      Failure to hold Defendants Dicello and Linville vicarious liable for the unauthorized

 advertising campaign would be tantamount to encouraging circumventing ethics rules by hiring

 third-party organizations to commit civil crimes on their behalf

 75.      Defendant Dicello and Defendant Linville directed the texts be made by Defendant

 Guardian and Defendant Intake for the benefit of Defendant.

 76.     Defendants should be held jointly and severally liable for the text messages at issue in

this case.


                                        COUNT ONE:
       Violations of the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii), by Automated Telemarketing
                            Without Prior Express Written Consent
                                   (Against All Defendants)

77.      Plaintiff incorporates the foregoing allegations as if fully set forth herein.

78.      Defendants andlor their agents placed automated text messages to Plaintiff's cellular

telephone.

79.      Plaintiff never consented to receive automated text messages from Defendants. Plaintiff

has had no relationship with Defendants.

80.      Defendants' automated text messages were made for purposes of advertising and

marketing their goods and services. These automated text messages constituted commercial

advertising and telemarketing as contemplated by the TCPA.

81.      The automated text messages were made using an ATDS to the cellular phone of Plaintiff

in violation of 47 U.S.C. § 227(b)(1)(A)(iii) and (B).

82.      As a result of their unlawful conduct, Defendants repeatedly invaded the personal privacy

of Plaintiffs, causing Plaintiff to suffer damages and, under 47 U.S.C. § 227(b)(3)(B), entitling



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 Plaintiff to recover $500 in statutory damages for each violation and an injunction requiring

Defendants to stop their unlawful text message campaigns.

83.     Not only did Defendants make these violating automated text messages, but Defendants

and/or their agents also did so "knowingly" and/or "willfully' under 47 U.S.C. § 227 (b)(3)(C).

84.     If the Court finds that Defendants willfully or knowingly violated this subsection, the

Court may exercise its discretion to increase the amount of the award from $500 to $1500 per

violation under 47 U.S.C. § 227(b)(3)(C).


                                          COUNT TWO:
  (Violation of the TCPA "Sales CaIILDNC" Prohibition, 47 U.S.C. 227(c), and 47 C.F.R. §

                                            64.1200(C))

                                     (Against All Defendants)


85.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.

86.    The foregoing acts and omissions of Defendants and/or their affiliates or agents constitute

a violation of FCC regulations by making multiple telemarketing solicitations to a consumer on

the National Do-Not-Call Registry within a 12-month period in violation of 47 C.F.R. §

64.1 200(c)(2).

87.    Defendants sent automated text messages to Plaintiff's private residential telephone

number which was successfully registered on the National Do-Not-Call Registry more than

thirty-one (31) days prior to the automated text messages, in violation of 47 U.S.0 §

227(c)(3)(F), and 47 C.F.R. § 64.1200(c)(2).

88.    Plaintiff was statutorily damaged at least five (5) times under 47 U.S.C. § 227(c)(3)(F) by

Defendants by the automated text messages described above, in the amount of $500 per

automated text message.

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    89.     Plaintiff is entitled to an award of at least $500 in damages for each such violation.

    47 U.S.C. § 227(c)(5)(B).

    90.    Plaintiff is entitled to an award of up to $1,500 in damages for each knowing or willful

    violation of 47 U.S.C. § 227(c)(3)(F)

                                                    COUNT THREE:
                           Telemarketing Without Mandated Safeguards, 47 C.F.R. § 64.1200(d)
                                                    (Against All Defendants)

    91.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.

    92.    The foregoing acts and omissions of Defendants and/or their affiliates or agents constitute

    multiple violations of FCC regulations by making telemarketing solicitations despite lacking the

    following:


                 a.   A written policy, available upon demand, for maintaining a do-not-call list, in

                      violation of 47 C.F.R. § 64.1200(d)(l)2;

                 b. Training for the individuals involved in the telemarketing on the existence of and

                      use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2)3; and,

                 c. In the solicitations, the name of the individual caller and the name of the person or

                      entity on whose behalf the call is being made, in violation of 47 C.F.R. §

                      64.1 200(d)(4).4

93.       Plaintiff is entitled to an award of at least $500 in damages for each such violation. 47

U.S.C. § 227(c)(5)(B).




2
    See Id. at 425 (codifying a June 26, 2003 FCC order).
    See id. at 425 (codifying a June 26, 2003 FCC order).
    See id. at 425 (codifying a June 26, 2003 FCC order

                                                       17
            Case 3:22-cv-00343-FM Document 1 Filed 09/26/22 Page 18 of 63



 94.     Plaintiff is entitled to an award of up to $1,500 in damages for each such knowing or

 willful violation. 47 U.S.C. § 227(c)(5).

                                           COUNT FOUR
                  Violations of The Texas Business and Commerce Code 305.053
                                      (Against All Defendants)

 95.    Plaintiff incorporates the foregoing allegations as if set forth herein.

 96.    The foregoing acts and omissions of Defendants and/or their affiliates or agents constitute

 multiple violations of the Texas Business and Commerce Code 305.053, by making non-

emergency telemarketing automated text messages to Plaintiffs cellular telephone number

without her prior express written consent in violation of 47 USC 227 et seq. The Defendants

violated 47 USC 227(d) and 47 USC 227(d)(3) and 47 USC 227(e) by using an ATDS that does

not comply with the technical and procedural standards under this subsection.

97.     Plaintiff is entitled to an award of at least $500 in damages for each such violation.

Texas Business and Commerce Code 305.053(b)

98.     Plaintiff is entitled to an award of up to $1,500 in damages for each such knowing or

willful violation. Texas Business and Commerce Code 305.053(c)


                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Crystal Maldonado prays for judgment against the Defendants

jointly and severally as follows:

       A.      Leave to amend this Complaint to name additional DOESs as they are identified

and to conform to the evidence presented at trial;

       B.      A declaration that actions complained of herein by Defendants violate the TCPA

and Texas state law;




                                                 18
            Case 3:22-cv-00343-FM Document 1 Filed 09/26/22 Page 19 of 63




       C.        An injunction enjoining Defendant and their affiliates and agents from engaging

in the unlawful conduct set forth herein;

       D.        An award of $1500 per automated text message in statutory damages arising from

the TCPA §227(b) intentional violations jointly and severally against the corporations and

individuals for 31 automated text messages.

       E.        An award of $1500 per automated text message in statutory damages arising from

the TCPA §227(c) intentional violations jointly and severally against the corporations and

individuals for 31 automated text messages.

       F.        An award of $1,500 in statutory damages arising from violations of the Texas

Business and Commerce code 305.053

       G.        An award of $5,000 in statutory damages arising from violations of the Texas

Business and Commerce code 302.101.

       H.        An award to Ms. Maldonado of damages, as allowed by law under the TCPA;

                 An award to Ms. Maldonado of interest, costs, and attorneys' fees, as allowed by

law and equity

       J.        Such further relief as the Court deems necessary, just, and proper.


September 26, 2022                             Respectfully submitted,


                                            Cpd                    4ddinAt
                                               Crystal Maldonado
                                               Plaintiff, Pro Se
                                               8749 Coloma Circle
                                               El Paso, TX 79907
                                               915-305-6342
                                               Crysta1maldonado502gmail .com



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            Its Anna

            (1-833-498-1230)
              We need you to
            call in to see your

           ToxicWater comp
           options. You or
           your family looks
           like they may have

           been effected?
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            checking if you ye
            explored all of your
            comp options with
           the Toxic Water
            suit. Can you

            give me a ring?
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             Please call
             in to discuss

             your potential
             Toxic WaterPayout
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            name came up
            as a potential
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            Look what You may
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            end                                 9:23 PM




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            pensationFund
            (1 -855-61 5-2309)
             We are now
            accepting any
            injuries from the
            Lejeune CA. STOP
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             Its Jeff
             (1-888-909-4109)
               We need you to
             call in to see your
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             options. You or
             your family looks
             like they may have
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             Hey; Can you give me a quick call
             and well go over the contaminated
             water payout?    1-844-488-3238 -
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                   Monday, September 1 9, 2022



           Hey it's Mark Can you give me
           a quick call and wetll go over
           the contaminated water payout?
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             mY3-lf 9153056342 was affected
            They have No Choice But to Pay
            Up. See what You may be Owed
            by CAMP LEJEUNE..eGet3Y.w
            aggisha54joina.com/x stop to
            end




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            It's Jeff (i-888-909-41 09)    We
            need you to call in to see your
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            your family looks like they may
            have been effected? STOPtoSTOP
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            Welcome to DocuSign: Msg&data
            rates may apply. Message
            frequency varies. Reply HELP for
            help. STOP to opt-out anytime.


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                   Tuesday, September 13, 2022



           It's Anna (1 -834981 230) We
           need you to call in to see your
           ToxicWater comp options. You or
           your family looks like they may
           have been effected? STOPtoSTOP            JJWZL




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                      Monday, September 12, 2022



              We were just checking    if   youve
              explored all of your comp options
              with the Toxic Water suit. Can you
             give me a ring? 1-855-598-0250
             STOP to STOP                              :5qp




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                                                               ATTORNEY CONTINGENCY FEE AGREEMENT

    This retainer agreement is made between Barbara Rios                       ("Client") and DiCello Levitt Gutzler LLC and Linville Law Group                       , Uointly,
    "the Attorneys"). Client retains and employs the Attorneys to recover compensation for Client's injuries suffered from water contamination at Camp Lejeune. If Client
    brings a claim relating to or arising from a deceased person's damages or injuries, Client agrees to proceed both individually and as representative of the estate of the
    deceased person to the extent, Client is legally able to do so. This agreement is intended to bind Client's heirs, death beneficiaries, and Client's estate representative in
    the event of a death.
                  FREE CASE EVALUATION: The Attorneys will evaluate Client's claim at no upfront expense or fee.
                  NO FEES OR EXPENSES UNLESS WE RECOVER FOR YOU: If there is no recovery, Client will not owe the Attorneys anything.
                  SETI'LEMENT OF CLAIMS: Client shall have the right to accept or reject any offers for settlement of the cause of action.
                  THE ATTORNEYS WILL NOT SUE CLIENT'S DOCTOR(S)

    CONTINGENT FEES: Client agrees to pay forty percent (40%) of the GROSS settlement or recovery in case of settlement or verdict as a reasonable Attorneys' fee
    for the Attorneys' services. Client understands that the expenses which have been advanced (as defined below) will be deducted from the portion of proceeds payable
    to the client after deduction of the Attorneys' fees unless the jurisdiction that the client is in dictates otherwise. These fees apply regardless of whether the case goes to
    trial or settles before a lawsuit is filed. The Attorneys' fees shall be shared as follows: DiCello Levitt Gutzler LLC shall
    receive 95.00%         while Linville Law Group                                    5.00% .   The division of fees between the firms does not affect the Client's share of
    the recovery. The Attorneys may employ other attorneys to help with Client's claims at their discretion, but the association of other contingency fee attorneys will not
    increase the contingency fee owed by Client. The Attorneys shall have discretion to acceptor reject any appeal. If any judgment is rendered pursuant to 28 U.S.C.
                                                                                                                                                                                 §
    1346(b), or if any settlement is made pursuant to 28 U.S.C. § 2677 or 2672, attorneys fees will be capped to the extent required by 28 U.S.C. 2678.
                                                                                                                                                                §

   EXPENSES: The Attorneys shall advance the court costs and other expenses for this claim, including case specific expenses and a pro rata share of general case
   expenses. Client agrees and consents to reimburse Attorneys for case specific and general case expenses out of Client's share of the gross amount recovered. Case
   specific expenses are those incurred for the sole benefit of the Client's individual claim. General case expenses are those incurred in the prosecution of Client's cause
   of action and other similarly situated clients. Client agrees to pay a pro rata share of such general case expenses in exchange for the benefit of sharing these expenses
   with other similarly situated clients rather than incurring these expenses individually. These expenses will be disclosed to Client at the time of settlement. Should the
   Attorneys elect to fund such expenses by borrowing the funds required, Client agrees to reimburse the full sum of all related interest charges for case specific expense
   costs as well as a pro rata share of related interest charges for general case expenses out of Client's percentage of the gross amount recovered, unless the jurisdiction
   that the client is in dictates otherwise. Client grants the Attorneys a lien on any proceeds or judgments recovered for Client's claim as security for the payment of the
   attorneys' fees and expenses to be incurred. If there are no proceeds recovered on Client's claim, then the Client will not owe the Attorneys for the expenses
   incurred during the prosecution of this claim.

   STATUTE OF LIMITATIONS: There are legal time limits to prosecute Client's claim, generally Statutes of Limitation or Repose, and if the Claim is not timely
   prosecuted then the legal right to pursue the claim may be lost forever. The Attorneys require reasonable time to thoroughly investigate Client's legal claims in order to
   uphold their ethical responsibility, and the Attorneys will not take action on Client's behalf without adequate time for investigation. Client assumes the risks and
   understands, agrees, and Consents that the Attorneys shall not be required to pursue the Client's claims, to file a lawsuit, or to take any action to comply with any Statute
   of Limitations or Repose, if such limitations period expires within 120 days of the date this signed Agreement is received by the Attorneys. Prompt return of this
   Agreement is very important.

   CLIENT'S COOPERATION AND TERMINATION: Client shall keep the Attorneys advised of their current address and telephone number at all times during
   representation. Failure to advise the Attorneys of this current contact information may result in the dismissal of Client's claim and/or the loss of Client's legal rights
   forever. Client consents to receive future communications electronically at the Attorneys' discretion, including text messages, client may opt out anytime by providing
   written notice to the Attorneys. Further, Client agrees that the Attorneys may withdraw from representing Client if the Attorneys deem withdrawal warranted for any
   reason. If the Attorneys withdraw from representation, they may do so by notifying the Client through electronic communication, or by sending mail to the Client's
   last known address. In the event the Attorneys withdraw, the Client will not owe any Attorneys' fees or expenses. Client agrees to provide complete and truthful
   information. Client has not and will not retain other counsel regarding this matter. Client agrees not to file any lawsuits, or to negotiate settlement of Client's claims
   without the Attorneys' knowledge and consent. Client agrees to not share information obtained from the Attorneys. If Client talks to anyone other than Attorneys or
   their staff, except for Client's spouse, about discussions between Client and Attorney or members of their staff, Client risks the attorney-client privilege and perhaps
   other privileges. Client agrees to preserve all evidence of Client's claim. Client agrees to notify the Attorneys of any previous bankruptcy filings and prior to any future
   bankruptcy filing. Client may terminate this agreement at any time by providing written notice to the attorney. If an offer has been negotiated, Attorneys will
   have a lien upon any subsequent recovery equal to 40% of the offer, or an amount to compensate for time and expenses, whichever is greater.

   POWER OF ATTORNEY: Client hereby grants Attorneys a limited power of attorney to execute documents necessary to conclude this representation. The Attorneys
   are authorized and empowered to act as Client's negotiator in any and all settlement negotiations concerning the subject of this agreement. As part of this power
                                                                                                                                                                     of
   attorney, Client authorizes the Attorneys to require that any settlement checks be made payable jointly to Client and the Attorneys and the Attorneys may reimburse
   themselves for expenses and fees prior to disbursing money to Client. However, the Attorneys will not unreasonably withhold disbursement from Client.

   SETTLEMENT OF HEALTHCARE LIENS: Client understands and acknowledges that prior to the disbursement of any settlement proceeds, the Attorneys may be
   required to investigate and satisfy any third-party interest healthcare liens such as Medicare, Medicaid, and other medical provider liens.

   COMPLETE AGREEMENT: Client hereby acknowledges that the Attorneys have made no guarantees regarding the successful outcome of this matter and all
   expressions about the outcome are only opinions. This is the entire agreement. Client represents that no one has promised Client anything to induce Client to retain the
   Attorneys. Client understands and acknowledges that the decision to hire the Attorneys was made willfully and independently without outside influence and no person
   has solicited Client on behalf of the attorneys. It may be changed only by a writing signed by the Attorneys. If any part is or becomes unenforceable, the
                                                                                                                                                                    rest remains
   valid and enforceable. The Attorneys' choice to not enforce a provision is not a waiver of the right. All issues regarding this Agreement are governed by
                                                                                                                                                                     the state of
   Illinois. If Client and the Attorneys cannot resolve a dispute related to this matter, they will mediate it before a mutually agreeable mediator. If mediation does not work,
   client and attorney agree to remedy through a binding individual arbitration subject to the rules of the American Arbitration Association.


        y,#tsrt   is                                                Barbara Rios                                              9/8/2022 1:00 PM EDT
   Client Signature                                                 Printed Name                                              Date

   Barbara Rios
   Print Name of Injured Party                                     Attorney Signature

                                                                                                                                                  L
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                                                      Attorney Authorization

                 To:    Office of the Judge Advocate General
                        Tort Claims Unit Norfolk
                        9620 Maryland Avenue, Suite 205
                        Norfolk, Virginia 235 11-2949

               The undersigned hereby grants the law firm below full authority to file an administrative claim
                                                                                                               arising from
               his/her exposure at Camp Lejeune. This includes but is not limited to filing an Administrative Form 95.

               If the claimant is deceased or is under conservatorship/power of attorney, the undersigned hereby grants the
               law firm below full authority to take all necessary actions for the purposes of prosecuting any and all
                                                                                                                       claims
               against the Government under The Camp Lejeune Justice Act.

               It is understood that if the undersigned changes residences, addresses and/or contact information, that
                                                                                                                       he/she
               will notify the law firm below or else all such attorneys or firms shall be absolved from further prosecution of
               his/her case.

                I, Barbara Rios                                               , hereby designate      and authorize

                 Mark DiCello                                                 , associated with the law office of



                 DiCello Levitt Gutzler LLC                                    to represent me and continue any
                         (Name ofLaw Firm)

              and all claims which have been filed or will be filed arising from:
                 Exposure to contaminated water at Camp Lejeune, North Carolina

                                           (Description of Incident)


              Which occurrent on between 8/1/1 953 and 12/31/1 987.
                                         (Date ofIncident)


              Executed on 9/8/202211:00 PM EDT

                                                                                            V1'Q't   ios


                                                                               Signature of Claimant


              I A Form 95 is used to present claims against the United States for property damage, personal injury, or death.


             2 If you meet the requirements to file a claim under The Camp Lejeune Justice Act, then you may also be
             qualified to file a claim in the United States District Court.
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       TO:

       Patient's Full Legal Name: Barbara Rios

       Date of Birth:                                                 S.S.#XXX-XX-
       Address:____________________

       NOTE: "You" refers to the person(s) to whom this Authorization is directed. "I,"
                                                                                           "Me," or "My" refers to the patient identified above. Pursuant to HIPAA
       Standards for Privacy of Individually Identifiable Health Information, 45 C.F.R.
                                                                                        §164.512 & 164.508 ("HIPAA"), You are hereby authorized and directed to
       disclose the following oral, written, or electronic protected health care information related
                                                                                                     to Me to the law firm of                                   for
       purposes of investigation and litigation

       ________All health information (meaning EVERY document or item in my record) maintained
                                                                                                       by You
       _________All health information relating to the following treatment or
       _________All Health information for the date(s):                         condition:________________________________________________________________
       _________All Billing information for the date(s):
       _________All photographs and videos depicting My Injuries

       I understand that the information in my health record may include
                                                                    information relating to sexually transmitted disease, acquired immunodeficiency syndrome
       (AIDS), human immunodeficiency virus (HIV), behavioral or mental health services, and/or treatment
                                                                                                          for alcohol and/or drug abuse. I authorize the release
       of such information, with the following exceptions:


   Federal and state laws protect the information disclosed pursuant to this Authorization. I understand that if the
                                                                                                                     authorized recipient of the information is not a
   health care provider or health plan covered by federal privacy regulations, the information may be re-
                                                                                                                disclosed and no longer protected. However, the
   recipient may be prohibited from disclosing any substance abuse information under federal confidentiality
                                                                                                                   requirements for alcohol and drug abuse patient
   records and the Public Health Service Act. Such information may not be used to criminally investigate or
                                                                                                                   prosecute any alcohol or drug patient. Further,
   pursuant to O.C.G.A § 24- 9-47, state law prohibits a recipient from making any further disclosure of test
                                                                                                                results relating to HIV or AIDS without the specific
   written consent of the person to whom such information pertains. A general authorization for the release of medical
                                                                                                                           or other information is NOT sufficientfor
   such purpose.

   Please be advised that HIPAA §164.512(e) prohibits ex parte communications between counsel for
                                                                                                      defendant and the patient's (plaintiff's) health
   care provider, unless expressly agreed to by the patient in a separate release. I do not authorize my health
                                                                                                                care provider to communicate with
   counsel for defendant through this release.

    I understand that I have the right to revoke this Authorization at any time, and in order
                                                                                              to do so, I must present a written revocation to you. I understand
   that the revocation will not apply to information that already has been released in response to or in reliance upon this
                                                                                                                             Authorization. I understand that I need
   not sign this Authorization in order to ensure health care treatment, payment, enrollment in my health plan, or
                                                                                                                     eligibility for benefits. I understand that if this
   authorization is sought by a covered entity I will be given a copy of this Authorization form, after signing it. Unless revoked,
                                                                                                                                                 this authorization will
   automatically expire one (1) year from the date of signature.

   I further understand that the information disclosed pursuant to this Authorization may be subject to re-disclosure and no longer protected
                                                                                                                                              by the privacy
   regulations promulgated pursuant to HIPAA. I agree that a photocopy of this authorization will bear the same authority as the original.



  Signature of Patient/Authorized Representative (if authorized representative, include relationship or nature of authority)




                          os

  Signature of Patient or Legal Representative                                                Date




  If Signed by Legal Representative, Relationship to Patient
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    To: Medical Care Provider:

    From: Patient Name: Barbara Rios

    Patient DOB:                                  Patient SSN: XXX-XX-____________________________________________________________

    Pursuant to 45 CFR § 164.524, I am requesting that you send an electronic copy, in PDF form at, of all of my
                                                                                                                 protected Health information ('PHI') from
    ___________________________to                                to my Third-party designee(s),                                                           I
    do not want a PHI summary but the full set of records.

    Please scan paper records and/or convert electronic records to PDF format and email them
                                                                                              to______________________________________________
    If you are unable to email my PHI, you may save in PDF format to a thumb drive and mail the same to:




   ______________________________________________________should receive any and all correspondence, including invoices for the reasonable
   cost-based fee for the labor cost of copying my protected health information, paper or electronic media supply costs, and
                                                                                                                             postage costs. The applicable
   regulations provide the following rules for compliance with this request:

         1.   There is a 30-day deadline to supply the requested PHI.
         2.   There is no requirement under the HITECH Act for a HIPA authorization. This letter is sufficient.
         3.   There is no expiration event or date relating to this patient or the purpose of the use or disclosure of this information.
         4.   Prohibited charges include access charges, inventory charges, labor for reviewing the request, searching for or retrieving
                                                                                                                                            the PHI.
         5.   Medical records contractors are covered by HIPAA regulations.
        6.    Noncompliance includes charging more for sending the records to my third-party designee, Consumer Attorney Record
                                                                                                                                               Services, or any
        subsequent or additional third-party designee.
        7.    Noncompliance includes claiming the inability to provide the PHI via email or mail.
        8.   I have the right to revoke this authorization in writing.
        9.   You may not condition treatment, payment, enrollment, or eligibility for benefits on whether I sign this
                                                                                                                           authorization when the prohibition on
        conditioning of authorizations in (b)(4) of 45 CFR § 164.508 applies.
        10. There is a potential for information disclosed pursuant to this authorization to be subject to re-disclosure
                                                                                                                            by
        and will no longer be protected by this 45 CFR §164.508.


   This copy is as valid as the original. Thank you for your prompt response.




                        os

   Signature of Patient or Legal Representative                                            Date (Signature is valid for 365 days)




   If Signed by Legal Representative, Relationship to Patient


   For more information on the Federal HITECH Act and its regulations: https:/Iwww.hhs.gov/hipaa/for-
                                                                                                         professionals/privacy/guidance/access!
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  Subject: Please sign document
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                                                                                              Viewed: 9/8/2022 12:59:26 PM
 1-9153056342
                                                                                              Signed: 9/8/2022 1:00:05 PM
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 (None)                                             Signature Adoption: Pre-selected Style
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Notary Events                                      Signature                                 Timestamp

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Certified Delivered                                Security Checked                          9/8/2022 12:59:26 PM
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Completed                                          Security Checked                          9/8/2022 1:00:05 PM

Payment Events                                     Status                                    Timestamps
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                     Case 3:22-cv-00343-FM Document 1 Filed 09/26/22 Page 62 of 63




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               approval, our attorneys will take it from there to work on getting you the compensation
               you deserve, at no cost to you. To sign up for a free attorney evaluation, follow the steps
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               medical records, enter them in the boxes provided. Do not enter any dashes or slashes
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               assigned a case manager at the law firm who will then be reaching out to you shortly
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               intake@intakedirect. corn
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